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Joseph N. DiVincenzo, Jr.                                                     Courtney M. Gaccione
Essex County Executive                                                        Essex County Counsel


September 11,2019

Via ECF
Honorable Renee Marie Bumb, U.S.D.J.
United States District Court
Mitchell H. Cohen U.S. Courthouse
1 John F. Gerry Plaza, Room 1050
4th
    and Cooper Streets
Camden, New Jersey 08101

        Re: Jody Lutter v. ThIESO, et al.
        Case Number: 1:19-cv-13478-RMB-KMW

Your Honor:

The County of Essex’s response is currently due on September 27, 2019. Please accept this letter as a
request for an extension until October 2,                                 I have received consent from
p1iiii     attorney for the requested extension, which is attached hereto as Exhibit A for your review.


                                                       Respectfully submitted,
                                                       Is!        J1’Iagtath.

                                                       Robin Magrath, Esq,
                                                       Director of Labor Relations

cc: All counsel of record   —   via ECF                         $0 01d)ERED this                     7 1ay
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